Case 2:16-cv-00450-JRG Document 148 Filed 03/10/17 Page 1 of 2 PageID #: 1103



                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC           §
                                     §
      Plaintiff,                     §              Case No: 2:16-cv-0450-JRG
                                     §
vs.                                  §              LEAD CASE
                                     §
CITIBANK, NA                         §
                                     §
        Defendant.                   §
  __________________________________ §
SYMBOLOGY INNOVATIONS, LLC           §
                                     §
      Plaintiff,                     §              Case No: 2:16-cv-0599-JRG
                                     §
vs.                                  §              CONSOLIDATED CASE
                                     §
KWIKSET CORPORATION                  §
                                     §
        Defendant.                   §
  __________________________________ §

                                   ORDER OF DISMISSAL

      Under Federal Rule of Civil Procedure 41(a), Symbology Innovations, LLC (“SI”) and

 Spectrum Brands, Inc. (that now wholly owns Kwikset Corporation, the entity originally

 named in this action) (“Spectrum/Kwikset”) moved to dismiss SI’s claims against

 Spectrum/Kwikset with prejudice, and Spectrum/Kwikset’s claims against SI without

 prejudice, with each party bearing its own attorneys’ fees and costs.

      After consideration of same, IT IS ORDERED that Plaintiff’s claims against Defendant

 Spectrum Brands, Inc. and Kwikset Corporation are dismissed with prejudice, Spectrum

 Brands, Inc. and Kwikset Corporation’s claims against Plaintiff are dismissed without

 prejudice, and each party shall bear its own fees and costs.
Case 2:16-cv-00450-JRG Document 148 Filed 03/10/17 Page 2 of 2 PageID #: 1104




   SIGNED this 19th day of December, 2011.
  So ORDERED and SIGNED this 9th day of March, 2017.




                                          ____________________________________
                                          RODNEY GILSTRAP
                                          UNITED STATES DISTRICT JUDGE
